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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


AMY PHILLIPS,

      Plaintiff,

      v.                                            Civil Action No. 1:22-cv-00277-JEB

DISTRICT OF COLUMBIA,

      Defendant.


                                   JOINT STATUS REPORT

       Pursuant to the Court’s January 29, 2025 Minute Order, Plaintiff Amy Phillips and

Defendant District of Columbia submit this joint status report. The Parties are in the process of

finalizing a settlement agreement. Unless this case is not voluntarily dismissed by March 7,

2025, the Parties propose that they submit another joint status report by that date.

Date: February 28, 2025.                             Respectfully submitted,

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